Case 1:21-cr-00022-CKK Document 135-1. Filed 15/02/52) Pade Ge BSN 2D

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA
Vv.

Case No. 21-cr-22-CKK

CHRISTOPHER RAY GRIDER,

Defendant.

 

 

DECLARATION OF CHARLES D. TOBIN IN SUPPORT OF
GRAY MEDIA GROUP, INC.’S MOTION TO QUASH

I, Charles D. Tobin, pursuant to 28 U.S.C. § 1746, declare as follows:

1. I am a partner in the Washington, D.C. office of Ballard Spahr LLP, and am
admitted to practice in this Court. I am one of the attorneys representing non-party Gray Media
Group, Inc. (“Gray”). I submit this declaration to put before the Court certain information and
documents relevant to Gray’s Motion to Quash (the “Motion”). I have personal knowledge of
the facts set forth herein and would be competent to testify to them.

2. On November 21, 2022, counsel for Defendant Christopher Ray Grider
(“Defendant”) purported to serve, via email, a subpoena for trial testimony and documents on
Rissa Shaw, a journalist for KWTX-TV, a Waco, Texas-based television station owned and
operated by Gray. A true and correct copy is attached as Exhibit A. The subpoena is returnable
for 9:00 a.m. on December 12, 2022 and commands the production of “[a]ny notes or records
related to your interview of Christopher Grider on January 6, 2021.”

3. By telephone conference on November 21, 2022, I conferred with Defendant’s
counsel who issued the subpoena. I raised Gray’s general policy of objecting to the compelled

testimony of its journalists or the disclosure of its unpublished newsgathering materials. I asked
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whether counsel would consider voluntarily withdrawing the subpoena. Defendant’s counsel
declined, explaining that he intended to elicit testimony from Ms. Shaw about her interactions
with Defendant, specifically (1) what Defendant said to her, and (2) her impressions of
Defendant’s mental state at the time of the interview. I asked whether Defendant intended to
waive his Fifth Amendment privilege and testify at trial, and Defendant’s counsel represented
that Defendant had not yet made a decision on that issue.

4. After consideration, I notified Defendant’s counsel on November 22, 2022 that
Gray would bring this motion to quash if Defendant did not withdraw the subpoena voluntarily.

5. On November 23, 2022, Defendant’s counsel notified me that Defendant would
not be withdrawing the subpoena. Defendant’s counsel further suggested that his proffering of
Ms. Shaw’s potential testimony at Defendant’s January 27, 2021 detention hearing had effected a
waiver of the reporter’s privilege. A true and correct copy of the transcript of the detention
hearing is attached as Exhibit B.

6. That same day, I conferred about the subpoena with Government counsel, who
expressed that the Government does not consider Ms. Shaw a necessary witness in this case and
does not intend to take a position on this Motion.

I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge, information, and belief.

Executed this 2nd day of December, 2022.

/s/ Charles D. Tobin
Charles D. Tobin
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Exhibit A
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AO 89 (Rev. 08/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case

UNITED STATES DISTRICT COURT

for the
District of Columbia

United States of America
Vv

Christopher Ray Grider Case No. 21-cr-22-CKK

 

Defendant

SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE

To: Rissa Shaw

YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
below to testify in this criminal case. When you arrive, you must remain at the court until the judge or a court officer
allows you to leave.

 

 

Place of Appearance: {J S_ District Court for the District of Courtroom No.: ogn
Columbia, 333 Constitution Avenue a
N.W.,Washington D.C. 20001 Date and Time: 49/49/2022 9:00 am

 

You must also bring with you the following documents, electronically stored information, or objects (blank if not
applicable):
Any notes or records related to your interview of Christopher Grider on January 6, 2021

PLEASE NOTE THAT IT IS POSSIBLE THAT YOU MAY BE APPEARING BY VIDEOCONFERENCE USING ZOOM
(you will be notified as soon as possible)

Date: 11/21/2022

 

CLERK OF COURP 1 , (
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Signature af Clerkar Deputy Clerk

 

The name, address, e-mail, and telephone number of the attorney representing (name of party) Christopher Grider
, who requests this subpoena, are:

Brent Mayr

5300 Memorial Drive, Suite 750
Houston, TX 77007
713-808-9613
bmayr@mayr-law.com
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Exhibit B
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

UNITED STATES OF AMERICA

VS.

CHRISTOPHER RAY GRIDER

Docket No. A 21-MJ-033(1) SH
Texas

)
)
) Austin,
)
) 2021

January 27,

TRANSCRIPT OF VIDEOCONFERENCE. DETENTION HEARING
BEFORE THE HONORABLE SUSAN HIGHTOWER

APPEARANCES:

For the United States:

For the Defendant:

Transcriber:

Mr. G. Karthik Srinivasan
Assistant U.S. Attorney
903 San Jacinto Boulevard,
Suite 334

Austin, Texas 78701

Mr. T. Brent Mayr
Mayr Law, P.C.

5300 Memorial Drive,
Houston, Texas 77007

Suite 750

CRR, RMR
Suite 4153

Ms. Lily Iva Reznik,
501 West 5th Street,
Austin, Texas 78701
(512)391-8792

Proceedings reported by digital sound recording,
transcript produced by computer aided-transcription.

 

LILY I. REZNIK,

OFFICIAL COURT REPORTER

O.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)

 
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1 INDEX

2 Direct Cross Redirect Recross
Witnesses:

4) (None)

EXHIBITS

Offered Admitted
8 | Government's

9| (None)
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11 | Defendant's

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LILY I. REZNIK, OFFICIAL COURT REPORTER
0.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)
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(Proceedings commence at 1:35 p.m.)

THE CLERK: Court is now in session for a
detention hearing: 21-MJ-33, United States vs.
Christopher Ray Grider.

MR. SRINIVASAN: Good afternoon, your Honor.

Karthik Srinivasan for the government.

MR. MAYR: Good afternoon, your Honor.

Brent Mayr on behalf of Mr. Grider.

THE COURT: Good afternoon. Thank you to
everyone.

I have a few announcements to make as we get
started today. We have large number of participants
attending today, and I need to remind everyone that all
participants are -- cannot record, photograph, broadcast,
or televise any part of this proceeding. Any violation of
this direction is punishable as contempt of court.

All members of the public who are attending are
asked to remain muted and with their video off. The Court
will unmute and turn on the video for anyone testifying.
Anyone who attempts to disrupt this proceeding will be
removed. And we are being recorded. The Court is making
an audio recording today.

So with all that said, this matter comes before
the Court on the request of the government to detain the

defendant, Christopher Ray Grider, pending trial. And

 

LILY I. REZNIK, OFFICIAL COURT REPORTER
U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)

 
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we're holding our proceeding by video conference because
due to the COVID-19 pandemic, holding the proceeding in
person would present a serious health risk to you, Mr.
Grider, to the other detainees, to the attorneys, and the
court staff involved.

So I'll ask you first, Mr. Grider, have you
discussed with Mr. Mayr sESREEdinTG by Wides, CORESEEREE
today?

THE DEFENDANT: Yes, your Honor.

THE COURT: And do you consent to proceed with
this hearing by video conference?

THE DEFENDANT: Yes, your Honor.

THE COURT: Mr. Mayr, do you consent to proceed
by video conference today?

MR. MAYR: I do, your Honor.

THE COURT: And, Mr. Srinivasan, on behalf of the
government, do you consent to proceed by video conference?

MR. SRINIVASAN: Yes, your Honor.

THE COURT: So I find that both parties consent
to proceed by video conference today.

I also need to remind counsel that as required by
Rule 5(f) of the Federal Rules of Criminal Procedure, the
United States is ordered to produce all exculpatory
evidence to the defendant pursuant to Brady vs. Maryland

and its progeny. Not doing so in a timely manner may

 

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0.8, DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)

 
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result in sanctions that include the exclusion of
evidence, adverse jury instructions, dismissal of charges,
and contempt proceedings.

So in considering the government's detention
request today, courts are guided by several general
principles. First, that the defendant, Mr. Grider, you're
entitled to the 56 SMB of innocence ae all times.
Under the Bail Reform Act, pretrial detention is an
exceptional step. A defendant must be released before
trial unless I find that no condition or combination of
conditions exist that will reasonably assure your
appearance, if the government seeks detention based on the
risk of flight, or reasonably assure the safety of any
other person in the community, if the government seeks
detention based on you being a danger to the community,
Mr. Grider.

That Bail Reform Act requires that the least
restrictive conditions be imposed that are necessary to
provide those reasonable assurances. If I can't find that
any condition or combination of conditions will reasonably
assure your appearance as required, or the safety of the
community, that I'm required by the Bail Reform Act to
order you held in custody.

So with that said, I'll ask Mr. Srinivasan: How

does the government intend to proceed today?

 

LILY I. REZNIK, OFFICIAL COURT REPORTER
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MR. SRINIVASAN: Your Honor, we are seeking
detention on the grounds of dangerousness.

THE COURT: Okay. Thank you.

And are you prepared to call -- are. you
proceeding by witness or a proffer?

MR. SRINIVASAN: By proffer, your Honor. We're
melvin on the nature and SIEGIMSEAREEE BE the offense as
laid out in the complaint.

THE COURT: Okay. So the government has no
witnesses to call.

MR. SRINIVASAN: That's correct, your Honor,
although I would note that to the extent the Court has
additional questions, FBI Special Agent Jeanette Taylor is
on the line here, although we were not planning to call
her.

THE COURT: Okay. Thank you very much. So then,
that we'll proceed with you, Mr. Mayr.

Does the defense have any evidence that it would
like to present at this time?

MR. MAYR: Yes, your Honor. Before I proceed
with actual evidence, I just want to make sure that you've
had an oppor -- we're on the same page in terms of what

has been reviewed by the Court.

First and foremost, this court has received and

reviewed the amended Pretrial Services report recommending

 

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release on certain conditions. Is that correct?

THE COURT: Yes.

MR. MAYR: Okay. I also, earlier this morning,
filed a confidential memorandum on pretrial release,
supplied a copy of that to the government after conferring
with them. And I just want to confirm that you have had
an Sap eaeankey to were that and the several letters that
I included, in addition to that memorandum.

THE COURT: Mr. Mayr, I've reviewed the entire
submission.

MR. MAYR: Thank you very much, your Honor. I

appreciate that.

Then in addition to those -- in addition to
what's set out there, your Honor, I would -- I have four
witnesses that I would proffer testimony on. I would

start with Mr. Ryan Ford, who was present in the Zoom
room. If he could be at least just permitted to show his
face and just acknowledge the Court, and then, I can
explain what I would proffer his testimony to be.

THE COURT: Certainly. We're proceeding -- we
will turn on -- as any witnesses identified, we'll turn on
their camera and unmute them. So it might take just a
moment, but I'll ask the courtroom deputy to do so. The
last name is -- can you spell it, please? Is it F-O-R-D?

MR. MAYR: Like the car. Ryan Ford.

 

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THE COURT: Okay.

MR. MAYR: Okay, your Honor. At least on my
screen, he's directly below me, but that there is Ryan
Ford. Your Honor, by proffer, I would -- Mr. Ford would
testify that he is a neighbor and close friend of Mr.
Grider's. He's the former county commissioner for Falls
County. So he -1 to say that he has his pulse on the
community is a pretty good one.

He would testify that he and Mr. Grider have been
neighbors for over seven years, and during that time, he's
never done anything but work at his business and support
his family. It is his opinion that those are -- that his
family and his business are his main and sole priorities.
Without him present, all of those stand to fail. He's
lived next to him, he's worked with him to help him grow
his business, which as you are familiar with from having
reviewed the materials is the winery.

In doing that, Mr. Ford would testify that he's
never seen Mr. Grider exhibit any behaviors or speech that
could be even remotely considered threatening or harmful
to anyone. In fact, he does everything to avoid
conflicts, even with his own employees. He's more -- he's
more inclined to cut back someone's hours rather than
terminate them simply for wanting to avoid a confrontation

with his employees. Mr. Ford would testify that he's --

 

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U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)

 
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1); that Mr. Grider's a good Christian man, a loving, caring

2| husband and a father.

3 Thank you, Mr. Ford. That's all I would have for

4/Mr. Ford.
5 THE COURT: Okay. Thank you, Mr. Ford.

6 MR. MAYR: The next witness that I would proffer,

7] your Honor, is Michelle Tyler, who is also present on

8 | Zoom.

9 THE COURT: I can see Ms. Tyler. Thank you.

10 MR. MAYR: Thank you. Thank you, your Honor.

1] Ms. Michelle Tyler is zooming in all the way from
12a | Pensacola, Florida. However, I would proffer that she

13 | would testify that she knows Mr. Grider. She has known
14} him for close to 10 years. Knew him from when they used
15 | to sell their wares together in a farmers market,

16 | eventually working together, they developed a close

17 | personal relationship, Mr. Grider and his family with Ms.
18 | Tyler and her family.

19 You have already reviewed a letter from her

20} husband, Matthew Tyler. But Michelle Tyler would really
21} by way of proffer, would convey to the Court the real

22/ special bond that she sees with Mr. Grider and his

23 | children. Mr. Grider's son and Ms. Tyler's son are both
24/—-- have been best friends. Even though they now live in

25} Florida, they still will get together at least twice a

 

 

 

LILY I. REZNIK, OFFICIAL COURT REPORTER
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1] year, go on camping trips.
a She could also attest to not only seeing him ina
3] -- on a personal context, but in a business context as she
4/ continues to sell her goods through his business. She
§ | would testify that he has an upstanding character, is a
6} devoted husband and father, but also is committed to his
7| business and his community. His -- she would eesti fy that

8} he's ambitious, driven to succeed, and his dedication to

9] accuracy and creative vision is reflected clearly in his

10 | success.
11 She knows beyond any doubt that he holds deep
12 | respect for his responsibilities and has always stood firm

13 | in his obligations. And that's all that I would have for

14) Ms. Tyler.

15 THE COURT: Thank you, Ms. Tyler.

16 MR. MAYR: The next witness I would proffer, your
17 | Honor, is Christopher Johnson. He is C. Johnson on the

18 | Zoom video and he -- C. Johnson. Your Honor, that's Mr.
19 | Christopher Johnson. He is Mr. Grider's brother-in-law.
20 | He lives down in the Houston area. He is a senior

21} engineer with Varco National, and he wouldn't be able to
22|/be in court, anyway, because he's currently recovering
23 | from COVID.

24 Your Honor, by way of proffer, I really enjoyed

25 | talking with Mr. Johnson and felt that this court needed

 

 

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to really give much consideration to what he has to say
because he is the big brother of Mr. Grider's wife,
Crystal, who is present in the Zoom room and you've
reviewed -- you've seen reference to her.

I'm a big brother, he's a big brother, and so, we
-- in talking with him, he talked about how he was -- when
it comes to protective brothers, he is super-max ultra

protective, and he wasn't going to just let anyone be a

part of his little sister's life. He is solely committed
to protecting her. It's very im -- he loves her to death
and wouldn't -- never want her to be with anyone that

would in any way endanger her.

He would testify that in getting to know Mr.
Grider that he felt comfortable with him. He felt safe
with him. He trusts Chris and he felt confident that he
would treat her with respect and he's proven that. He
would testify that over all the years that Mr. Grider and
his wife, Crystal, have been together, Mr. Johnson has
come to love and appreciate how Mr. Grider loves and cares
for his little sister as much as he does. I think it's
relevant because it shows for someone who would care the
most about someone's safety, okay, he knows that Chris is
not a dangerous person. He is peaceful and he is loving,
and he is willing to come before you and testify to that

under oath, but I will offer by way of a proffer.

 

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That's all I have on Mr. Johnson.

THE COURT: Thank you, Mr. Johnson.

MR. MAYR: Finally, your Honor, the last witness
I would proffer is going to be Rissa Shaw. She is Rissa
Shaw on the Zoom screen.

THE COURT: Hi, Ms. Shaw. I see you.

MR. MAYR: Thank you.

Judge, this is a very interesting witness that I
would be proffering. Rissa Shaw -- I say it's
interesting. As you may recall in reading the complaint
in this case, specifically paragraph 10, the complaint by
the agent in this case makes reference to a story that
aired on KWTX TV News 10, the local media station in Waco,
Texas that featured Grider on one of his segments.

Your Honor, Ms. Shaw is the reporter who
interviewed Mr. Grider while he was allegedly in the
capitol. I have the video -- I have the video of her
story that I would like to publish for the Court so that
you could see what her story reported, and then, I can by
way of proffer add a little bit beyond what is reflected
in the story.

So with the Court's permission, I would like to
-- and I'm sorry I didn't make arrangements to handle this
beforehand, but however you would like for me to do that,

I would like to mark and offer what I'm going to call

 

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1 | Defendant's Exhibit B, since Exhibit A was attached to the
2| memorandum. I'm going to call this Exhibit B, and it is
3| going to be the video recording of Ms. Shaw's story that
4/was published and is referenced in the complaint.

5 THE COURT: Mr. Srinivasan, any objection?

6 MR. SRINIVASAN: Your Honor, I've not seen this
7 | particular clip, but based on that ASPEEEEnE SELON, fl Rare
8/no reason to object at this point. But I would reserve

9/ just in case something comes up after viewing it.

10 THE COURT: Certainly. And since I haven't even
ll | seen it either, is it something that you're able to play
12} at this time and share your screen?

13 MR. MAYR: I am. That exactly what I was

14] intending to do and I'm setting up to do with your

15 | permission, your Honor.

16 THE COURT: That's fine. Take your time and

17 | afterwards, we'll ask Mr. Srinivasan if he needs to lodge
18 | any objection.

19 MR. MAYR: Thank you. And for the record, your
20 | Honor, I will go ahead and publish the -- this will be

21 | Defendant's Exhibit B, and I will waive any transcription

22|of this, if that is so necessary.

23 (Audio file played.)
24 THE COURT: Could you just pause for a moment,
25} Mr. Mayr, and see -- I'm seeing it and I can hear it a

 

 

LILY I, REZNIK, OFFICIAL COURT REPORTER
U.S. DISTRICT COURT, WESTERN DISTRICT OF TEXAS (AUSTIN)

 
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1| little bit. But so I can hear it better and for the
2] record, is there any way to increase the volume?
3 MR. MAYR: That's exactly what I'm doing right
4] now. One moment, your Honor.
5 THE COURT: Thank you.
6 MR. MAYR: Okay. Now I'm ready to share.
7 (Audio file played.)
8 THE COURT: Okay. So let me ask Mr. Srinivasan:
9/ Is there any objection to the -- to Mr. Mayr's offer of
10} this Exhibit B into evidence?
11 MR. SRINIVASAN: No objection, your Honor.
12 THE COURT: Okay. Thank you. It's admitted, Mr.
13 | Mayr.
14 MR. MAYR: Judge, in addition to that, Ms. Shaw

15} would talk about everything leading up to that story. She
16} would testify that like most news stories, there's a lot
17} more information that she obtains, but what she would

18 | convey to the Court is that she was overwhelmed by what

19 | was happening and received -- and was contacted by Mr.

20 | Grider and felt a need to report what was going on.

al In talking with Mr. Grider, he was clear, he was

22} calm. She did not at any point ever think that he was a

23 | threat to anyone. She did not -- she did not think that
24|/ he was engaged in any violent acts. She testified -- she
245} would testify that in talking with him, she never -- it

 

 

LILY I. REZNIK, OFFICIAL COURT REPORTER
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1} never even really crossed her mind that he was committing
2/ any crime. It was her belief that he was reporting what

3} he saw, but there was never any indication of him acting
4|/maniacally, or espousing radical reviews, or anything of

§| the sort. He was very clear, calm, lucid, and really felt
6| that his only purpose was to just report and document what
7 Wet taking place.

8 She would proffer and testify that she knows and
9)/ has a relationship with Mr. Grider and Mrs. Grider. She
10 | has done previous stories on their winery there in

11 | Bruceville-Eddy. And she has always been just incredibly
12] impressed by Mr. Grider and what he is and who he does.

13 She would testify that in getting to know Mr.

14] Grider and his wife that they are Texans through and

15 | through, and they are in no way a flight risk or a danger

16} to the community. They -- she would testify that he know
17 | -- she knows him to be -- provide people many
18 | opportunities in the greater Houston area. I think you

19 | probably already read about some of those people that he's
20} helped out in the Waco area.

al She's seen firsthand former public school

a2} teachers -—-- Mr. Grider helping former school teachers,

23 | helping troubled teens from broken homes, bringing him out
24} to his business, bringing him out to his property to help

25} them earn a living. And she would testify that she

 

 

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believes that he is -~ that he is a respectful person and
that he believes in the institutions of our country. She
would respectfully request just based on everything that
she actually saw and observed, she would assure this court
that she does not believe that Mr. Grider is a danger to
the community in any way. And that's what I --

THE COURT: Mr. Mayr, AGSE to be clear since
we're proceeding by proffer, I'll ask you, rather than Ms.
Shaw, she is located in the Waco area, correct? She was
not in Washington, D.C. at the time of the report?

MR. MAYR: That is correct, your Honor. So she
would have -- yeah. That is correct. She was receiving
and reporting from Waco.

THE COURT: Thank you.

MR. MAYR: Okay. Unless you have any other
questions, your Honor, that's all I have for Ms. Shaw.

THE COURT: I do not. Thank you, Ms. Shaw.

MR. MAYR: If I may just have a moment, your
Honor.

THE COURT: Certainly.

MR. MAYR: That is all the evidence that I have
by way of proffer that I care to present to the Court at
this time.

THE COURT: Okay. Well, thank you, Mr. Mayr.

So, Mr. Srinivasan, I believe that we're ready to

 

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1} proceed to argument.
2 MR. SRINIVASAN: Yes, your Honor. Thank you.
3 We believe that Mr. Grider poses a danger to the
4} community. And we believe that the nature and

§ |} circumstances of the offense as well as some of the

6] information that was just presented to the Court, I think,
7 | demonstrate the risks that ies BOSSE. He was noe a

8} bystander in the capitol. He wasn't just swept up in the
9/ crowd. He was at the front lines, breaching a secure

10} location with violence after disrupting Congress

ll |} performing a constitutional duty.

12 He had a helmet with him, and he gave it to

138 | somebody who had already tried to breach those doors. He
14] indicated as, you know, set forth in the complaint that

15} the helmet was hard, meaning that it was an implement that
16 | could be used for this purpose, gave it to that person.

17 | That person proceeded smash the doors. There's a

18 | picture in the Som awebrane of Mr. Grider trying to push the
19 | doors. He was an active participant in all this.

20 He stood there, tried to push the doors open.

21) The window was breached, and then, Ms. Babbitt was

a2 | tragically shot as a result of that. He was part of the
23 | causal chain of events that led to the death of an

24) individual. And at various points, your Honor, I think

245) it's set forth in the -- you know, the complaint, there

 

 

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were times when he is recording, he's taking pictures. He
is taking video, your Honor.

He wasn't a peacemaker. He didn't get there and

say, you know, hey, we shouldn't be doing this. Didn't
try to get people to back off. He didn't try to stop what
was happening, your Honor. He didn't want to forget what
was happening, and he documented it for himself as he went
along. And that is, I think, striking, your Honor, and
it's striking in contrast, I think, to some of the
evidence that's been presented to the Court today as well
as in the memorandum that Mr. Mayr submitted.

You look at the letters of Reverend Reg Seck, Mr.
Winkleman, Ms. Green, Ms. Ford, and some of the
information that was proffered today, and you get the
impression, I guess, two themes, I think, seem to emerge.
And the first is that these individuals don't know him to
be capable of such violence in their experiences with him,
and that he is fundamentally, they say, a good person and
seems should not be judged on this, you know, one -- one
day, this most horrible moment in his life when there's so
much other good that he has done.

And, your Honor, I think we would submit that
sometimes we can be judged and should be judged based upon
some of these worst moments because they reveal what an

individual is capable of. And, you know, the -- what

 

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happened there at the capitol, Mr. Grider's active
participation in it shows then that he's capable of
things, capable of participation in violence that
apparently is not known to any of the people who have come
to speak for him.

And so, there's a risk, your Honor, because this
was a moment of in great stress, excitement. You know,
I'm not trying get inside his head, but in a situation of
a mob, there's a lot of things that go on, and going

forward, your Honor, Mr. Grider is going to face stresses

and strains. He has now been indicted. He is now facing
a felony charge -- multiple felony charges, one with a
20-year maximum 1512(c). He's now facing significant

consequences for his action.

And I would close, your Honor, by -- you know, by
pointing out something that I found striking in the
proffer of Ms. Shaw's testimony, the reporter, as well as
the clip that was played, your Honor. That Ms. Shaw as
proffered knows the Griders, spoke with Mr. Grider
shortly, you know, after these incidents, and yet, Mr.
Grider was not fully forthcoming with her as to what
actually happened.

When you listen to that video, you listen to the
proffer, it was all in the passive. He was as a witness.

Ms. Babbitt got shot and so on. And to the extent that,

 

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1] you know, Mr. Mayr, Mr. Grider wants to persuade the Court
2] that that is something that you should consider, I think

3 | you should also consider what is also -- what it shows in
4) the converse, which is that there's an aspect to this

5] person, a risk that this person poses, given the right

6} circumstances that is unacceptable, and it came out that

7| day, and it's one that it seems like Aa ene else knows,

8} but it's right there. The complaint right there on video,

9} your Honor.

10 THE COURT: Thank you, Mr. Srinivasan.

ll Mr. Mayr.

12 MR. MAYR: Thank you, your Honor.

13 My client, Mr. Grider, never envisioned when he

14} got on a plane to go to Washington D.C. that he would find
15} himself in the position that he now finds himself. He did
16] not go there to commit a crime. Let's be very clear about
17} that. There is no evidence whatsoever to even support or
18} insinuate that. He did not go up there to riot. He did
19} not go up there to start an insurrection.

20 Your Honor, whatever happened on that tragic day
21] in American history at the United States Capitol, my

22} client deeply regrets ever being a part of it. He is

23} ready to return home to his family, his community, his

24/ church and his business, and to focus on those things and

25 | those things alone. The things that truly matter and mean

 

 

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1| the most to him.
2 He's ready to respect and honor the institutions
3] of this great country of ours as he's done in the past,
4| serving in the military, and as he will in the future,
5] respecting and following any conditions that you require
6} of him.
7 Your Honor, I believe that Ton can put your faith

8/ in him to do just that as so many others around him have

9} assured you. Family, friends, neighbors, educators,

10 | businesspeople, members of the clergy and his congregation
ll | have all firmly and unequivocally attested to you how he
12} is a loving, peaceful person and will not be a danger to
13} their community. From when he was a boy to the man he is
14] today, he is hard-working, dedicated to his family and his
15 | community.

16 Your Honor, I think it's important to understand
17 | that Mr. Grider is not some maniacal, radical extremist

18 | who went there with some mal intentions. When you watch
19 | the videos, you see that he's not screaming, he is not

20 | espousing crazy beliefs. He is not acting like an

21} agitator. He is there as an observer. He went there to
22| see what was happening, not to participate in an

23 | insurrection, not to riot, not to destroy.

24 Your Honor, the government talks about that the

25 | violence and what he -- and how he was at the door. I

 

 

 

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think it's really important to understand what -- the only
thing the evidence shows, okay? There's never been an
allegation that Mr. Grider took some object and started
trying to break the glass at the capitol doors and the
entrance to the speaker's lobby. He was present. He was
there and what happened there will -- was a tragedy. No
doubt.

For the government to insinuate that he's somehow
responsible for Ms. Babbitt's death is just absurd. I
think as lawyers, we could understand the breaks and the
causal links, but there is no indication that Mr. Grider
ever did anything to contribute to her death. He's
certainly not been indicted for that. As soon as it was
over with, he left Washington, he came back here, and this
court is aware of the actions that he has engaged in
subsequent to then.

I think it speaks volumes, your Honor, that he
went down and surrendered himself to the FBI. You have, I
imagine, have had several defendants appear before you
charged with much more serious federal offenses who have
been arrested in the middle of the nights, after their
homes are raided by federal agents. I think it speaks
volumes, your Honor, that in this particular case, the
agents called Mr. Grider up, asked him to come down to

Austin. He got in his car, drove himself down there and

 

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voluntarily surrendered himself, knowing what he had done
and what was coming.

His car is still there in Austin, your Honor.
We'd like you to let him get back in that car, drive back
home to Falls County to take care of his family, take care
of his community, and together with me, work to -- work
with him to seek a positive resolution of these charges
against him.

The government, as you're well aware, your Honor,
has the burden in this case. I've sort of assumed the
burden to myself. I wanted to prove by clear and
convincing evidence, I wanted to prove by a shadow of the
doubt that you have nothing to be concerned about. The
government has not proven by clear and convincing evidence
that there's no conditions that could assure the safety of
the community. There's clearly no evidence of intent to
flee.

I would respectfully ask, your Honor, that you
take into consideration everything that has been presented
to you in this matter and allow Mr. Grider to go home.
Thank you.

THE COURT: Thank you, Mr. Mayr.

Mr. Srinivasan, any further argument?

MR. SRINIVASAN: Your Honor, ail I would say in

response to Mr. Mayr is that I think he emphasized

 

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1] repeatedly that Mr. Grider was a witness and was observing

2] in what was there. I think he used the word "observer."
38] I would just call the Court's attention -- I know you have
4|/ this before you -- page 8 of the complaint, your Honor,

§ | the photo that's there. That is a man with his hand on

6| that door, and there are people trying to breach it and he
7| is helping. He is not a witness, your Honor. ‘He was an

8/| active participant in an attempt to breach a secure

9] location, endangering Congress, your Honor. He's a

10 | participant in these activities, and we'd ask your Honor
11] to give that off gE Fi Bene: weight. Thank you.

12 THE COURT: Okay. Thank you to everyone.

13 So as I would like to thank everyone specifically
14 | who's participated today. I'd like to thank counsel for
15 | their very able arguments. And I'll start out by saying
16|/ that the Bail Reform Act, which I referred to earlier,

17 | Title 18 of the United States Code, Section 3142, requires
18 | me to consider four specific factors. Those are the

19} nature and circumstances of the alleged offense, including
20 | whether it's a violent offense, the weight of the evidence
21] against the defendant, your history and characteristics,
22|/Mr. Grider, and the nature and seriousness of the danger
23} to others or to the community.

24 So I have carefully considered all the evidence

25 | that's been provided today on these factors. And I've

 

 

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also considered the recommendation of Pretrial Services,
which in this case is that you be released. The letters,
the evidence, Exhibit A, the support of your family and
friends speak to your history and characteristics, Mr.
Grider; and based on that evidence, I find that you are
not -- the government hasn't met its burden to establish
that you ame a flight risk. So I will not be granting
detention on that basis,

But, Mr. Grider, I have to consider the other,
factors, as well, as required by the Bail Reform Act. In
this case, in particular, the weight against you is
particularly strong. I'm also going to consider the
nature and circumstances of the alleged offense, which is
extremely serious here.

And as Mr. Srinivasan said, you know, Mr. Mayr
argued that you were there as an observer. You also -- it
was also reported in the news that you went to see for
yourself. Mr. Grider, that's not what the evidence shows.
That does not show that you were a member of the crowd on
January 6th. That the evidence is very strong that you,
in particular, supplied the helmet used to break the
speaker's lobby doors, and that you, yourself, pushed and
kicked on those doors in attempt to breach the House

chambers.

Now, as I previously said, you are presumed to be

 

 

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innocent of these charges, but the evidence is quite
strong. That's an extremely serious offense. And while
those events of January 6th are quite unusual, it's not
unusual for me to see criminal defendants who have the
support of their family and friends and, yet, are accused
of offenses that are serious enough that they require
detention.

And here, based on the nature and circumstances
of the offense and the very strong weight of the evidence
against you, Mr. Grider, I'm going to -- I find that the
government has met its burden to show by clear and
convincing evidence that there's no condition or
combination of conditions that will reasonably assure the
safety of community -- of the community if you were to be
released.

I'll also mention, it's primarily based on the
first two factors, But I think factor four, the nature
and seriousness of the danger to others or the community
is quite strong in this case, as well.

So I'll be preparing a written order of
detention. And I'll remand you, Mr. Grider, into the
custody of the United States Marshal Service for transport
to the district of the District of Columbia for further

proceedings.

So before we adjourn today, Mr. Srinivasan, is

 

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1); there anything else that the Court needs to address at
2} this time?
3 MR. SRINIVASAN: Not from the government. Thank
4] you.
5 THE COURT: Okay. Thank you.
6 And, Mr. Mayr, is there anything else that the
7 | Court needs to address?
8 MR. MAYR: Not at this time, your Honor -- ah, he
9] has been indicted. I don't know if we need to handle any
10} other Rule 5 matters at this time as this is my first
11] appearance before you. I don't know if those were
12} handled -- I couldn't tell if those were handled at the
13} initial, but if we can make sure that there isn't any
14} other Rule 5 matters that need to be addressed.
15 THE COURT: Did you have anything in particular,
16] Mr. Mayr, that you can't tell whether it needs to be
17 | addressed or not?
18 MR. MAYR: Not really, your Honor. Like I said,
19} I just -- you know, obviously we'll deal with arraignment
20); up in D.C. : And I imagine we'll deal with arraignment up
21} in D.C. There's no reason for an identity hearing. I'm
22] just kind of going through my mind, I think that --
23 THE COURT: Mr. Mayr -- yes, Mr. Grider waived
24/ identity hearing at the initial appearance.
25 MR. MAYR: Okay. That's what I -- just want to

 

 

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confirm. Other than that, I have nothing further, your
Honor.

THE COURT: All right. Mr. Srinivasan, is there
anything else, any other further Rule 5 procedure? The
Court's not aware of any, but is there any further Rule 5
procedure you're aware of that Mr. Grider is entitled to
at this time?

MR. SRINIVASAN: No, your Honor.

THE COURT: Okay. Thank you.

And I'll ask the courtroom deputy: Is there
anything further that needs to be addressed before we
adjourn?

THE CLERK: No, your Honor.

THE COURT: Okay. Thank you.

MR. MAYR: Your Honor, actually, one thing. I do
just to make sure we're clear on this. As far as the
Exhibit B that I offered, the video clip, it's a very
large digital file. What would be the most effective way
to get that to the Court and made part of the record in
this case?

THE COURT: I'm going to defer to the courtroom
deputy if he has anything to add, but I believe that that
can be submitted on a USB drive.

MR. MAYR: Okay.

THE COURT: As a physical USB drive to the Court.

 

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MR. MAYR: All right.

THE COURT: Does the courtroom deputy wish to add
anything further with regard to evidence? The video
evidence?

THE CLERK: That is a great question and I'll
certainly follow up with you following this hearing, Mr.
Brent, to --

MR. MAYR: I'll do the same with you, Mr.
Ferrell. Thank you.

THE COURT: Thank you, Mr. Mayr. You can
communicate by e-mail, but I believe making it --
submitting it on a drive, an external drive will be
sufficient.

So with nothing else, Mr. Grider, I'll wish you
good luck and Court's adjourned.

(Proceedings conclude at 2:12 p.m.)

 

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/s/Lily I. Reznik February 1, 2021

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